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                        UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF CONNECTICUT
                              BRIDGEPORT DIVISION


In re

JAYARAMAN KRISHNAN                                          Case No. 22-50045 (JAM)
A/K/A JAYARAMAN KRISHNA
                                                            Chapter 7
               Debtor.
__________________________________

WILLIAM K. HARRINGTON,                                      Adv. Proc. 23-______ (JAM)
United States Trustee for Region 2,

               Plaintiff,
v.

JAYARAMAN KRISHNAN
A/K/A JAYARAMAN KRISHNA,

            Defendant.
__________________________________

     COMPLAINT TO DENY DISCHARGE OF DEBTOR JAYARAMAN KRISHNAN
      A/K/A JAYARAMAN KRISHNA UNDER 11 U.S.C. § 727(a)(2) AND (a)(4)(A)

        William K. Harrington, the United States Trustee for Region 2, by and through his

undersigned counsel, for his complaint against JAYARAMAN KRISHNAN A/K/A

JAYARAMAN KRISHNA hereby alleges as follows:

                               JURISDICTION AND VENUE

        1.     This Complaint initiates an adversary proceeding as contemplated by Rule

7001(4) of the Federal Rules of Bankruptcy Procedure (“FRBP”). This controversy is a “core

proceeding” as the term is defined by 28 U.S.C. § 157(b)(1) and (b)(2)(J).




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         2.       The Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C.

§§ 157(b)(2)(J) and 1334 in that it arises under 11 U.S.C. § 101, et seq. (“Bankruptcy Code”)

and arises in or relates to the bankruptcy case now pending before this Court, styled: In

Jayaraman Krishnan a/k/a Jayaraman Krishna, Case No. 22-50045 (JAM).

         3.       Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409(a).

                                                   PARTIES

         4.       The plaintiff William K. Harrington is the duly appointed United States Trustee

for Region 2 (“United States Trustee”).

         5.       The United States Trustee is authorized to commence this adversary proceeding

pursuant to 11 U.S.C. § 727(c).

         6.       The defendant is Jayaraman Krishnan a/k/a Jayaraman Krishna the chapter 7

debtor in Case No. 22-50045 (JAM) (“Bankruptcy Case”).

                                    PROCEDURAL BACKGROUND

         7.       On February 3, 2022 (“Petition Date”), defendant Jayaraman Krishnan a/k/a

Jayaraman Krishna (“Debtor”) filed a voluntary petition (“Petition”) for relief under chapter 7

of the Bankruptcy Code. See ECF 1 1 attached hereto as Exhibit 1.

         8.       The Debtor has also used the names of Jayardman Krishna and Jayardman

Krishnan (hereafter the term “Debtor” shall mean Jayaraman Krishnan a/k/a Jayaraman Krishna

a/k/a Jayardman Krishna a/k/a Jayardman Krishnan).

         9.       George I. Roumeliotis is the chapter 7 trustee of the Debtor’s estate and

Bankruptcy Case (“Trustee Roumeliotis”).



 1   All citations to “ECF __” are citations to documents filed in the Bankruptcy Case.
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       10.     At the commencement of his Bankruptcy Case, the Debtor was represented by

Attorney Scott Charmoy (“Attorney Charmoy”). See ECF 1.

       11.     By order dated July 19, 2022, the Court approved the withdrawal of Attorney

Charmoy as counsel for the Debtor. See ECF 40.

       12.     On August 1, 2022, Attorney Mark Kratter (“Attorney Kratter”) filed an

appearance as counsel to the Debtor. See ECF 47. As of the filing of this Complaint, Attorney

Kratter continues to represent the Debtor in the Bankruptcy Case.

       13.     The original date to file a complaint objecting to the Debtor’s discharge in the

Bankruptcy Case under 11 U.S.C. § 727 was May 2, 2022. See ECF 3. By order dated April 21,

2022, the United States Trustee obtained an extension of time to August 1, 2022 to file a

complaint. See ECF 21. By order dated July 22, 2022, the United States Trustee obtained an

extension of time to October 3, 2022 to file a complaint. See ECF 45. By order dated September

15, 2022, the United States Trustee obtained an extension of time to January 31, 2023 to file a

complaint. See ECF 52. By order dated January 13, 2023, the United States Trustee obtained an

extension of time to April 3, 2023 to file a complaint. See ECF 58. By order dated March 24,

2023, the United States Trustee obtained an extension of time to June 2, 2023 to file a

complaint. See ECF 61. Accordingly, this Complaint is timely filed.

               DEBTOR’S NON-DISCLOSURE OF ESTATE PROPERTY

   (a) Debtor’s Schedules and Statement of Financial Affairs

       14.     On February 17, 2022, the Debtor filed a Schedule A/B (“Schedule AB”) and a

Schedule D (“Schedule D”) in the Bankruptcy Case. See ECF 8 attached hereto as Exhibit 2.




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       15.     On February 16, 2022, in connection with his Schedule AB and Schedule D, the

Debtor signed a Declaration About an Individual Debtor’s Schedules (“Declaration”) which

contained the following oath over his signature: “Under penalty of perjury, I declare that I have

read the summary and schedules filed with this declaration and that they are true and correct.”

See ECF 8 (Exhibit 2) at page 33 of 49. The Declaration was filed with the Schedule AB,

Schedule D, and other Schedules (ECF 8) in the Bankruptcy Case on February 17, 2022. Id

       16.     On Schedule AB, the Debtor answered “no” in response to question 1 which asks

“Do you own or have any legal or equitable interest in any residence, building, land or similar

property?” See ECF 8 (Exhibit 2) at page 3 of 49.

       17.     On Schedule D, the Debtor answered “no” in response to question 1 thereby

indicating he does not have creditors with claims that are secured by his property. See ECF 8

(Exhibit 2) at page 16 of 49.

       (b)     Initial Section 341 Meeting on April 29, 2022

       18.     On April 29, 2022, the Debtor testified under oath at the initial Section 341

meeting of creditors in response to questions from Trustee Roumeliotis (“April 2022 Meeting”).

A copy of the transcript of the April 2022 Meeting is attached hereto as Exhibit 3.

       19.     At the April 2022 Meeting, the Debtor confirmed that he currently resides at the

address listed on the Petition, which is 1769 Oenoke Ridge, New Canaan, Connecticut

(“Residence”). See ECF 1; see Exhibit 3 at pages 4-5.

       20.     The Residence is also known by the address 369 Pinney Road, New Canaan,

Connecticut.




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           21.      At the April 2022 Meeting, the Debtor testified that he signed his bankruptcy

Petition. See Exhibit 3 at page 5.

           22.      At the April 2022 Meeting, the Debtor testified that he had an opportunity to

review his bankruptcy documents before signing them. See Exhibit 3 at page 6.

           23.      At the April 2022 Meeting, Trustee Roumeliotis asked the Debtor if the Debtor’s

bankruptcy documents/papers contained a true and accurate depiction of his financial

circumstances as of the Petition Date and Attorney Charmoy initially responded to that question

by stating that there were some amendments to be made, which were to increase the amount of

debt owed to a certain listed creditor and to add an interest in a company in Singapore called

“Primia (sic)” 2 (collectively “Attorney Charmoy Initial Disclosed Changes”). See Exhibit 3 at

pages 6-7.

           24.      At the April 2022 Meeting, Trustee Roumeliotis asked the Debtor if, aside from

the Attorney Charmoy Initial Disclosed Changes, he believed everything else in his bankruptcy

documents/papers is true and correct. The Debtor responded, “I do.” See Exhibit 3 at page 7.

           25.      At the April 2022 Meeting, Trustee Roumeliotis asked the Debtor if, other than

the Attorney Charmoy Initial Disclosed Changes, he believed that all of his assets and liabilities

have been accurately disclosed. The Debtor responded, “Yes.” See Exhibit 3 at page 7.

           26.      At the April 2022 Meeting, Trustee Roumeliotis questioned the Debtor if he sold

or gave away anything worth $5,000 or more from the date of February 3, 2018 forward. The

Debtor responded, “No, sir.” See Exhibit 3 at page 16.




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    Upon information and belief, the correct spelling is “Prameya.”
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        27.     At the April 2022 Meeting, the Debtor testified that he has resided in the United

States for more than ten (10) years. See Exhibit 3 at page 9.

        28.     At the April 2022 Meeting, the Debtor testified that he is a resident alien. See

Exhibit 3 at page 10.

        29.     At the April 2022 Meeting, when asked by Trustee Roumeliotis when was the

last time the Debtor filed a federal tax return, the Debtor testified, “I have not filed a federal tax

return in the U.S. at all.” See Exhibit 3 at page 9.

        30.     At the April 2022 Meeting, the Debtor testified that the last tax return or

disclosure of income to a jurisdiction was done in India over ten (10) years ago. See Exhibit 3 at

page 10.

        31.     At the April 2022 Meeting, the Debtor testified that for the past three years he

has exclusively resided in Connecticut. See Exhibit 3 at page 9.

        32.     At the April 2022 Meeting, Trustee Roumeliotis questioned the Debtor if he

owned any real estate anywhere in the world in the four-year period prior to the Petition Date.

The Debtor responded, “No, sir.” See Exhibit 3 at page 16.

       33.     At the April 2022 Meeting, Trustee Roumeliotis questioned the Debtor, “[d]o

you own any real estate today?” and the Debtor responded, “No, sir.” See Exhibit 3 at page 16.

        34.     At the April 2022 Meeting, Trustee Roumeliotis questioned the Debtor who

owns the place where he currently lives (the Residence). The Debtor initially responded “[i]t

belongs to my wife” and then said “my fiancé.” See Exhibit 3 at pages 16-17.




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        35.      At the April 2022 Meeting, the Debtor testified that his fiancé is Suneeta Prasad

(“Ms. Prasad”). See Exhibit 3 at page 16. 3

        36.      At the April 2022 Meeting, the Debtor testified that he has never been married to

Ms. Prasad. See Exhibit 3 at page 35.

        37.      At the April 2022 Meeting, when asked by Trustee Roumeliotis how long Ms.

Prasad had owned the Residence, the Debtor responded “ten years” and “that’s a guess.” See

Exhibit 3 at page 17.

        38.      At the April 2022 Meeting, the Debtor testified that he has known Ms. Prasad for

20 years. See Exhibit 3 at pages 17-18.

        39.      At the April 2022 Meeting, when asked by Trustee Roumeliotis if the Residence

was subject to a mortgage or was owned free and clear, the Debtor responded, “I have no idea.”

See Exhibit 3 at page 18.

        40.      Later on at the April 2022 Meeting, Trustee Roumeliotis questioned the Debtor

about a pending foreclosure action regarding the Residence which lists the Debtor as a

defendant and the Debtor testified, “I have not been listed as a defendant in the case.” See

Exhibit 3 at pages 30-31.

        41.      At the April 2022 Meeting, Trustee Roumeliotis followed up by questioning the

Debtor as follows: “Are you sure you have no ownership interest and you never had any

ownership in that property [Residence]?” The Debtor responded, “That’s correct, sir.” See

Exhibit 3 at pages 30-31.




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   Exhibit 3 contains an incorrect spelling of Ms. Prasad’s name as “Sunedta Prassad.” The correct spelling is
Suneeta Prasad.
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       42.     At the April 2022 Meeting, the Debtor testified that he “heard” from Ms. Prasad

that Residence was in foreclosure. See Exhibit 3 at page 31.

       43.     At the April 2022 Meeting, in response to questions asked by Jennifer J. Morey

of the Office of the United States Trustee, the Debtor testified again that he has no ownership

interest in the Residence. See Exhibit 3 at pages 46-47.

       44.     At the April 2022 Meeting, Trustee Roumeliotis further questioned the Debtor if

he today, or ever, had an ownership interest in the real property commonly known as 1777

Oenoke Ridge, New Canaan, Connecticut (next door to the Residence). The Debtor responded,

“No, sir.” See Exhibit 3 at page 31.

       (c) Debtor’s undisclosed interest in the Residence

       45.     A foreclosure action was commenced in 2018 against the Debtor, Ms. Prasad and

others seeking to foreclose a mortgage on the Residence dated April 17, 2000 and granted by

the Debtor and Ms. Prasad to Washington Mutual Bank FA (“Mortgage”) to secure a note dated

April 17, 2000 in the amount of $1,152,000.00 that was executed, authorized and delivered by

the Debtor and Ms. Prasad (“Note”). The foreclosure action is currently pending in the

Connecticut Superior Court in the Judicial District of Stamford/Norwalk at Stamford as

Wilmington Trust, National Association Not in Individual Capacity But Solely as Trustee for

VM Trust Series 3 vs. Suneeta P. Krishna a/k/a Suneeta Prasad a/k/a Suneeta Prasad Krishna

a/k/a Suneeta Krishna, et al, Docket No. FST-CV18-6036479 (“2018 Foreclosure Action”). See

copy of docket in 2018 Foreclosure Action as of May 24, 2023 (“2018 Foreclosure Docket”)

attached hereto as Exhibit 4.




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       46.     According to the return of service filed at docket entry 100.30 on the 2018

Foreclosure Docket, the Debtor was personally served in hand with the Writ, Summons and

Complaint relating to the 2018 Foreclosure Action on May 7, 2018 by State Marshal Sara M.

Laden (“Return of Service”). See Return of Service attached hereto as Exhibit 5.

       47.     The amended complaint dated August 9, 2019 filed in the 2018 Foreclosure

Action alleges non-payment of the Note and seeks foreclosure of the Mortgage (“Foreclosure

Complaint”). See Foreclosure Complaint attached hereto as Exhibit 6.

       48.     The Foreclosure Complaint alleges that the Debtor is an owner of the Residence.

See Exhibit 6 at ¶2.

       49.     The Foreclosure Complaint alleges that Ms. Prasad is an owner of the Residence.

See Exhibit 6 at ¶2.

       50.     The Foreclosure Complaint alleges that the Debtor executed and delivered the

Note. See Exhibit 6 at ¶3.

       51.     The Foreclosure Complaint alleges that the Debtor executed and delivered the

Mortgage. See Exhibit 6 at ¶4.

       52.     The Foreclosure Complaint alleges that Ms. Prasad executed and delivered the

Note. See Exhibit 6 at ¶ 3.

       53.     The Foreclosure Complaint alleges that Ms. Prasad executed and delivered the

Mortgage. See Exhibit 6 at ¶4.

       54.      On July 19, 2018, the Debtor filed a pro se appearance in the 2018 Foreclosure

Action (“2018 Pro Se Appearance”). See 2018 Pro Se Appearance at Exhibit 7; see also 2018

Foreclosure Docket entry at July 19, 2018 (Exhibit 4).


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       55.     On July 20, 2018, the Debtor filed a motion in the 2018 Foreclosure Action

seeking to participate in mediation (“Debtor Mediation Motion”). See docket entry 118.00 on

the 2018 Foreclosure Docket; see copy of Debtor Mediation Motion attached as Exhibit 8.

       56.     The Debtor Mediation Motion was signed by the Debtor and states the following

in Section I: “I have been ill (kidney transplant) and under doctors care for some time and was

unaware of my rights to mediation. I have called the bank on numerous occasions to offer to pay

them back the arrearage over a short period of time, but have not been able to finalize a deal. I

am still waiting for the paper work.” See Exhibit 8.

       57.     On July 20, 2018, the Debtor filed a Foreclosure Mediation Certificate that he

signed (“Debtor Foreclosure Mediation Certificate”). See docket entry 117.00 on the 2018

Foreclosure Docket; see copy of Debtor Foreclosure Mediation Certificate attached as Exhibit

9.

       58.     The Debtor Foreclosure Mediation Certificate indicates that the Debtor is the

owner of the Residence. See Exhibit 9 at Section (A)(1).

       59.     The Debtor Foreclosure Mediation Certificate indicates that the Debtor lives in

the Residence and indicates that it is his primary residence. See Exhibit 9 at Section (A)(2) and

Section (A)(3).

       60.     The Debtor Foreclosure Mediation Certificate indicates that the Debtor is a

borrower on the Note being foreclosed. See Exhibit 9 at Section (A)(6).

       61.     On July 23, 2018, Attorney Gregory J. Williams of the law firm of Lampert,

Toohey & Rucci, LLC (“Attorney Williams”) filed an appearance on behalf of the Debtor in the

2018 Foreclosure Action. See Exhibit 10 hereto.


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       62.     On July 23, 2018, the Debtor, through Attorney Williams, filed a Foreclosure

Mediation Certificate which indicates the same information as reported in the Debtor

Foreclosure Mediation Certificate that the Debtor owns the Residence, that the Residence is the

Debtor’s primary residence, and that the Debtor is a borrower on the Note being foreclosed

(“Attorney Foreclosure Mediation Certificate”). See docket entry 115.00 on the 2018

Foreclosure Docket (Exhibit 4); see copy of Attorney Foreclosure Mediation Certificate

attached as Exhibit 11.

       63.     Also on July 23, 2018, Attorney Williams filed a motion in the 2018 Foreclosure

Action (“Attorney Mediation Motion”) seeking to participate in mediation which contains

statements similar to those in Section 1 of the Debtor Mediation Motion and using the term

“Defendant” instead of the pronoun “I.” See docket entry 114.00 on the 2018 Foreclosure

Docket (Exhibit 4); see copy of Attorney Mediation Motion attached as Exhibit 12.

       64.     On August 26, 2019, the Debtor, through Attorney Williams, filed an answer to

the Foreclosure Complaint in the 2018 Foreclosure Action (“Answer”). See docket entry 128.00

on the 2018 Foreclosure Docket (Exhibit 4); see copy of Answer attached as Exhibit 13.

       65.     Paragraph 2 of the Answer admits that the Debtor owns the Residence. See

Exhibit 13 at ¶2; see Exhibit 6 at ¶2.

       66.     Paragraph 3 of the Answer admits that the Debtor borrowed money from

Washington Mutual Bank FA to purchase the Residence. See Exhibit 13 at ¶3; see Exhibit 6 at

¶3.

       67.     Paragraph 4 of the Answer admits that the Debtor executed the Mortgage. See

Exhibit 13 at ¶4; see Exhibit 6 at ¶4.


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       68.       Paragraph 9 of the Answer admits that the Debtor owns the Residence. See

Exhibit 13 at ¶9; see Exhibit 6 at ¶9.

       69.       On September 30, 2019, the Debtor, through Attorney Williams, filed a

Disclosure of Defense to the Foreclosure Complaint in the 2018 Foreclosure Action

(“Disclosure of Defense”). See docket entry 130.00 on the 2018 Foreclosure Docket (Exhibit 4);

see copy of Disclosure of Defense attached as Exhibit 14.

       70.       The Disclosure of Defense does not dispute or contest the Debtor’s ownership of

the Residence. See Exhibit 14.

       71.       The Disclosure of Defense does not dispute or contest the validity or

enforceability of the Note. See Exhibit 14.

       72.       The Disclosure of Defense does not dispute or contest the validity or

enforceability of the Mortgage. See Exhibit 14.

       73.       Attorney Williams represented the Debtor in the 2018 Foreclosure Action from

July 2020 through January 2023. See 2018 Foreclosure Docket at Exhibit 4.

       74.       By motion filed on January 9, 2023, Attorney Williams moved to withdraw as

counsel to the Debtor and Ms. Prasad (“Motion to Withdraw”) citing that “continued

representation may cause a violation of the Rules of Professional Conduct.” See docket entry

137.00 on the 2018 Foreclosure Docket (Exhibit 4); see copy of Motion to Withdraw attached

as Exhibit 15.

       75.       By order docketed on February 6, 2023, Attorney Williams ceased representing

the Debtor and Ms. Prasad in the 2018 Foreclosure Action. See docket entry 137.03 on the 2018

Foreclosure Docket (Exhibit 4).


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       76.     As of the filing of this complaint in the instant adversary proceeding, the Debtor

is not represented by counsel in the 2018 Foreclosure Action. See 2018 Foreclosure Docket

(Exhibit 4).

       77.     Ms. Prasad is currently represented by Attorney Sarah Poriss in the 2018

Foreclosure Action. See Exhibit 16 hereto.

       (d)     Debtor’s Second Section 341 Meeting on August 3, 2022

       78.     On August 3, 2022, the Debtor testified under oath at a continued Section 341

meeting of creditors in response to questions from Trustee Roumeliotis and others (“August

2022 Meeting”). A copy of the transcript of the August 2022 Meeting is attached hereto as

Exhibit 17.

       79.     At the August 2022 Meeting, the Debtor testified about the Residence, the 2018

Foreclosure Action, Mortgage, and the Note. See Exhibit 17 at pages 6-12.

       80.     At the August 2022 Meeting, Attorney Holley Claiborn, counsel for the United

States Trustee (“Attorney Claiborn”), questioned the Debtor if he signed both the Note and the

Mortgage. The Debtor responded, “No.” See Exhibit 17 at page 7.

       81.     At the August 2022 Meeting, the Debtor denied that he is a defendant in the 2018

Foreclosure Action. See Exhibit 17 at pages 7-8.

       82.     At the August 2022 Meeting, the Debtor testified he has no attorney-client

relationship with Attorney Williams, not in the past or currently. See Exhibit 17 at page 8.

       83.     At the August 2022 Meeting, Attorney Claiborn asked the Debtor if he ever

owned the Residence. The Debtor responded, “No.” See Exhibit 17 at page 6.




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       84.     At the August 2022 Meeting, the Debtor testified that his father owned the

Residence and that his father died in 2010. See Exhibit 17 at pages 6-7.

       85.     At the August 2022 Meeting, the Debtor testified that the spelling of his father’s

name is “Jayardman Krishna.” See Exhibit 17 at page 9.

       86.     The 2018 Foreclosure Action names the following person as a defendant:

“Jayardman Krishna a/k/a Jayaraman Krishna a/k/a Kris Jayaraman.” See Exhibits 4, 5, and 6.

       87.     At the August 2022 Meeting, the Debtor denied that he was a defendant in the

2018 Foreclosure Action and testified that the named defendant in the 2018 Foreclosure Action

of “Jayardman Krishna” is his father. See Exhibit 17 at pages 7-10.

       88.     At the August 2022 Meeting, when the Debtor was asked why his last name ends

with an “n” and his father’s name does not, the Debtor testified, “It’s a cultural thing, sir.” See

Exhibit 17 at pages 30-31.

       89.     At the August 2022 Meeting, when asked how his father and Ms. Prasad took out

the Mortgage on the Residence in the year 2000, the Debtor testified that it was done in

connection with Ms. Prasad being his fiancé and that it was part of his culture. See Exhibit 17 at

page 10.

       90.     At the August 2022 Meeting, the Debtor testified that Ms. Prasad was his fiancé

as of April 2000 when the Mortgage and Note were executed. See Exhibit 17 at page 11.

       91.     At the August 2022 Meeting, the Debtor testified that he is not currently married

and has never been married. See Exhibit 17 at pages 10-11, and 21.

       92.     At the August 2022 Meeting, the Debtor testified that Ms. Prasad is currently his

fiancé. See Exhibit 17 at page 11.


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       93.     At the August 2022 Meeting, the Debtor testified that he has never had any legal

relationship with Ms. Prasad. See Exhibit 17 at page 10.

       94.     At the August 2022 Meeting, the Debtor testified that he has two children with

Ms. Prasad and one child is in college. See Exhibit 17 at pages 13 and 21.

       e)      Debtor’s Third Section 341 Meeting on September 9, 2022

       95.     On September 9, 2022, the Debtor testified under oath at a continued Section 341

meeting of creditors in response to questions from Trustee Roumeliotis and others (“September

2022 Meeting”). A copy of the transcript of the September 2022 Meeting is attached hereto as

Exhibit 18.

       96.     At the September 2022 Meeting, the Debtor testified in person and presented his

U.S. Permanent Resident Card, his social security card, and his driver’s license to Trustee

Roumeliotis. See Exhibit 18 at pages 3-4.

       97.     At the September 2022 Meeting, the Debtor spelled his name for the record as

“Jayaraman Krishnan.” See Exhibit 18 at page 4.

       98.     At the September 2022 Meeting, the Debtor testified that he signed the Petition

filed at ECF 1. See Exhibit 18 at page 8.

       99.     At the September 2022 Meeting, the Debtor testified that he signed the

Schedules Declaration. See Exhibit 18 at page 8.

       100.    At the September 2022 Meeting, the Debtor testified that he listed all of his

assets on his bankruptcy schedules. See Exhibit 18 at pages 35-36.

       101.    At the September 2022 Meeting, the Debtor testified that Ms. Prasad sometimes

goes by the name “Suneeta Krishnan.” See Exhibit 18 at page 51.


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       102.    At the September 2022 Meeting, the Debtor testified he has never been married

to Ms. Prasad. See Exhibit 18 at page 51.

       103.    At the September 2022 Meeting, the Debtor testified he resides at the Residence.

See Exhibit 18 at page 7.

       104.    At the September 2022 Meeting, the Debtor testified that the Residence is owned

by his father and Ms. Prasad. See Exhibit 18 at pages 56-57, and 86.

       105.    At the September 2022 Meeting, the Debtor testified that the Residence was

titled in his father and Ms. Prasad’s names in 2000 because “[t]he reason it went that way is my

father was making the down payment for the property and Suneeta [Ms. Prasad] was to have her

income and her tax documents for the property.” See Exhibit 18 at pages 86-87.

       106.    At the September 2022 Meeting, the Debtor testified that he signed the Note. See

Exhibit 18 at page 88.

       107.    At the September 2022 Meeting, the Debtor testified that he signed the

Mortgage. See Exhibit 18 at page 89.

       108.    At the September 2022 Meeting, the Debtor testified that he signed the Note and

the Mortgage on behalf of his father. See Exhibit 18 at pages 88-89.

       109.    At the September 2022 Meeting, the Debtor testified that his father died in 2010

and that it was his “understanding” that his father’s interest in the Residence “goes to Suneeta

[Ms. Prasad].” See Exhibit 18 at page 58.

       110.    At the September 2022 Meeting, the Debtor testified that he was the estate

administrator for his father’s probate estate. See Exhibit 18 at pages 77-78.




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       111.    At the September 2022 Meeting, the Debtor admitted that he did not include the

Residence as an asset in his father’s probate estate. See Exhibit 18 at page 79.

       112.    At the September 2022 Meeting, when asked why the Residence was not listed

as one of his father’s assets in the probate estate, the Debtor testified “I don’t know.

Overlooked,” and “I don’t remember,” and “I have always had the thing that the property

belonged to Suneeta [Ms. Prasad].” See Exhibit 18 at page 79-80.

       f)      Debtor’s Fourth Section 341 Meeting on November 28, 2022

       113.    On November 28, 2022, the Debtor testified under oath in person at a continued

Section 341 meeting of creditors in response to questions from Trustee Roumeliotis and others

(“November 2022 Meeting”). A copy of the transcript of the November 2022 Meeting is

attached hereto as Exhibit 19.

       114.    At the November 2022 Meeting, the Debtor testified that, as of the 2010 when

his father died, the Residence was titled in the names of his father and Ms. Prasad. See Exhibit

19 at pages 34-35.

       115.    At the November 2022 Meeting, the Debtor further testified that the Residence

was not included in his father’s probate estate because Ms. Prasad became the sole owner of the

Residence upon his father’s death by operation of law. See Exhibit 19 at pages 35-36.

       116.    At the November 2022 Meeting, the Debtor testified that “I’m not a defendant,

no” in the 2018 Foreclosure Action and also testified “[s]o I don’t have a loan, I didn’t take a

loan. And I didn’t own the place.” See Exhibit 19 at pages 37 and 40.

       117.    At the November 2022 Meeting, the Debtor testified that the 2018 Foreclosure

Action involved his father, not him. See Exhibit 19 at pages 37-40.


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       118.    At the November 2022 Meeting, the Debtor testified that he did not hire Attorney

Williams to represent him in the 2018 Foreclosure Action. See Exhibit 19 at page 37.

       119.    At the November 2022 Meeting, in response to questions about the Attorney

Mediation Motion (Exhibit 12) and how it refers to a kidney transplant and being ill, the Debtor

testified that the Attorney Mediation Motion was filed on behalf of his father, not him. See

Exhibit 19 at pages 50-58; see Exhibit 12.

       120.    Subsequently at the November 2022 Meeting, in response to questions about the

Debtor Mediation Motion (Exhibit 8 hereto) and how it contains the same references to a kidney

transplant and being ill as the Attorney Mediation Motion, the Debtor admitted that he filed the

Debtor Mediation Motion and that the reference in the Debtor Mediation Motion to a kidney

transplant is a reference to the Debtor, not his father. See Exhibit 19 at pages 58-60; see Exhibit

8.

       121.    At the November 2022 Meeting, in response to questions from Attorney Steve

Ouellette about being married to Ms. Prasad, the Debtor said that he testified falsely under oath

at a prior deposition conducted on November 30, 2018 when he testified at that deposition that

he was married to Ms. Prasad since 1993. See Exhibit 19 at pages 86-91.

       (g) 2017 Modification Agreement

       122.    Subsequent to the November 2022 Meeting, Trustee Roumeliotis obtained a

copy of a Modification Agreement that was signed by the Debtor and by Ms. Prasad in

Fairfield, Connecticut on November 28, 2017 (“2017 Modification Agreement”). See 2017

Modification Agreement attached as Exhibit 20.




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       123.    By its terms, the 2017 Modification Agreement reaffirms the obligations of the

Note and Mortgage and binds the Debtor and Ms. Prasad to the obligations of the Note,

Mortgage, and the 2017 Modification Agreement. See Exhibit 20.

       124.    The Debtor is listed on page one (1) of the 2017 Modification Agreement as the

“borrower” using the name “Jayardman Krishna.” See Exhibit 20.

       125.    The Debtor, above the hand-written name Jayardman Krishna, personally

executed the 2017 Modification Agreement on November 28, 2017 in his capacity as a

borrower under the Note. See Exhibit 20.

       126.    Ms. Prasad, above the hand-written name Suneeta P. Krishna, personally

executed the 2017 Modification Agreement on November 28, 2017 in her capacity as a

borrower under the Note. See Exhibit 20.

       127.    The 2017 Modification Agreement was signed, acknowledged and delivered by

Debtor on November 28, 2017 in the physical presence of two witnesses and Meagan M.

Ancona, a notary public for the State of Connecticut (“Notary Public”). See Exhibit 20.

       128.    The acknowledgement by the Notary Public of the Debtor’s signature on the

Modification Agreement states that the Debtor’s driver’s license was provided to the Notary

Public as evidence of the Debtor’s identity. See Exhibit 20.

       (h) 2019 Federal Tax Return and false testimony at April 2022 Meeting

       129.    In connection with the Bankruptcy Case and at the request of Trustee

Roumeliotis, the Debtor filed a Form T-4506 request with the Internal Revenue Service (“IRS”)

for copies of tax returns for the tax years 2014 through 2021.




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        130.     At the November 2022 Meeting, the Debtor provided Trustee Roumeliotis with

the tax transcripts sent to him by the IRS (“IRS Response”), which included a tax transcript for

the return filed with the IRS for the year 2019 (“2019 Tax Transcript”). See Exhibit 19 at page

5.

        131.     According to the IRS Response, the Debtor has not filed tax returns with the IRS

for the tax years 2014, 2015, 2016, 2017, 2018, 2020, and 2021.

        132.     The 2019 Tax Transcript reflects income of $1.00 for the tax year 2019.

        133.     At the November 2022 Meeting, the Debtor testified that he did not recall why

he filed a tax return for the year 2019 and did not know why there was $1.00 in taxable interest

income reported on the 2019 Tax Transcript. See Exhibit 19 at page 7.

        134.     The Debtor testified untruthfully at the April 2022 Meeting when the Debtor

testified “I have not filed a federal tax return in the U.S. at all.” See Exhibit 3 at page 9.

        (i)      False Schedules AB and D and False Testimony at the April 2022 Meeting,
                 the August 2022 Meeting, the September 2022 Meeting and the November
                 2022 Meeting

                                   Schedule AB and Schedule D

        135.     The Debtor’s Schedule AB (ECF 8) filed in his Bankruptcy Case was false and

inaccurate in that it failed to disclose and omitted the Debtor’s legal and/or equitable interest in

the Residence.

        136.     The Debtor’s Schedule D (ECF 8) filed in his Bankruptcy Case was false and

inaccurate in that it failed to disclose and omitted the Debtor’s legal obligations with respect to

the Note, Mortgage, and Modification Agreement concerning the Residence.




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        137.    To date, the Debtor has failed to amend his Schedule AB to disclose his legal

and/or equitable interest in the Residence.

        138.    To date, the Debtor has failed to amend his Schedule D to disclose his

obligations with respect to the Note, Mortgage, and Modification Agreement concerning the

Residence.

                                         April 2022 Meeting

        139.    The Debtor testified untruthfully at the April 2022 Meeting when he testified that

his bankruptcy documents/papers were accurate as of the date of the bankruptcy filing (the

Petition Date) because Schedule AB failed to disclose and omitted the Debtor’s legal and/or

equitable interest in the Residence.

        140.    The Debtor testified untruthfully at the April 2022 Meeting when he testified that

his bankruptcy documents/papers were accurate as of the date of the bankruptcy filing (the

Petition Date) because Schedule D failed to disclose and omitted the Debtor’s obligations with

respect to the Note and Mortgage on the Residence.

        141.    The Debtor testified untruthfully at the April 2022 Meeting when he testified that

he does not have any ownership interest in the Residence and has never owned the Residence.

        142.    The Debtor testified untruthfully at the April 2022 Meeting when he testified that

he does not own any real estate and has not owned any real estate anywhere in the world in the

four-year period prior to the Petition Date.

        143.    The Debtor testified untruthfully at the April 2022 Meeting when he testified, “I

have not filed a federal tax return in the U.S. at all.”




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                                       August 2022 Meeting

       144.    The Debtor testified untruthfully at the August 2022 Meeting when he testified

that he has not ever owned the Residence.

       145.    The Debtor testified untruthfully at the August 2022 Meeting when he denied

that he is a defendant in the 2018 Foreclosure Action.

       146.    The Debtor testified untruthfully at the August 2022 Meeting when he testified

that he did not sign the Note and the Mortgage.

       147.    The Debtor testified untruthfully at the August 2022 Meeting when he testified

that his deceased father is a defendant in the 2018 Foreclosure Action.

       148.    The Debtor testified untruthfully at the August 2022 Meeting when he testified

that he had no attorney-client relationship with Attorney Williams.

                                     September 2022 Meeting

       149.    The Debtor testified untruthfully at the September 2022 Meeting when the

Debtor testified that the Residence is owned by his father and Ms. Prasad, and that he does not

own the Residence.

       150.    The Debtor testified untruthfully at the September 2022 Meeting when the

Debtor testified that he signed the Note and the Mortgage on behalf of his father, not himself.

       151.    The Debtor testified untruthfully at the September 2022 Meeting when the

Debtor testified that he listed all of his assets on his bankruptcy schedules.

                                     November 2022 Meeting

       152.    The Debtor testified untruthfully at the November 2022 Meeting when he

testified that he does not own the Residence.


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       153.     The Debtor testified untruthfully at the November 2022 Meeting when he

testified that he was not a defendant in the 2018 Foreclosure Action, did not take a loan out with

respect to the Residence, and that the 2018 Foreclosure Action involved his father, not him.

       154.     The Debtor testified untruthfully at the November 2022 Meeting when he

testified that he did not hire Attorney Williams to represent him in the 2018 Foreclosure Action.

       155.     The Debtor testified untruthfully at the November 2022 Meeting when he

testified that the Attorney Mediation Motion (Exhibit 12) was filed on behalf of his father, not

him.

                     FIRST CAUSE OF ACTION - 11 U.S.C. § 727(a)(2)

       156.     Paragraphs 1 through 155 are hereby repeated and realleged as though fully set

forth herein.

       157.     Based upon information sufficient to form a reasonable belief, the Debtor,

JAYARAMAN KRISHNAN A/K/A JAYARAMAN KRISHNA A/K/A JAYARDMAN

KRISHNA A/K/A JAYARDMAN KRISHNAN, with an attempt to hinder, delay or defraud

creditors and/or Trustee Roumeliotis and the Debtor’s bankruptcy estate, transferred, removed,

and/or concealed or permitted to be transferred, removed or concealed property of the

bankruptcy estate relating to Debtor’s legal and/or equitable interest in the Residence prior to

and after the date of the filing of the Debtor’s Petition and thus has forfeited his right to obtain a

discharge of his debts pursuant to 11 U.S.C. § 727(a)(2).

                  SECOND CAUSE OF ACTION - 11 U.S.C. § 727(a)(4)(A)

       158.     Paragraphs 1 through 155 are hereby repeated and realleged as though fully set

forth herein.


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       159.     Based upon information sufficient to form a reasonable belief, by failing to

disclose his legal and/or equitable interest in the Residence on his Schedule AB, the Debtor,

JAYARAMAN KRISHNAN A/K/A JAYARAMAN KRISHNA A/K/A JAYARDMAN

KRISHNA A/K/A JAYARDMAN KRISHNAN, has knowingly and fraudulently, in or in

connection with the case made a false oath or account in violation of 11 U.S.C. § 727(a)(4)(A)

and thus has forfeited his right to obtain a discharge of his debts.

                   THIRD CAUSE OF ACTION - 11 U.S.C. § 727(a)(4)(A)

       160.     Paragraphs 1 through 155 are hereby repeated and realleged as though fully set

forth herein.

       161.     Based upon information sufficient to form a reasonable belief, by failing disclose

the Note, Mortgage and Modification Agreement concerning the Residence on his Schedule D,

the Debtor, JAYARAMAN KRISHNAN A/K/A JAYARAMAN KRISHNA A/K/A

JAYARDMAN KRISHNA A/K/A JAYARDMAN KRISHNAN, has knowingly and

fraudulently, in or in connection with the case made a false oath or account in violation of 11

U.S.C. § 727(a)(4)(A) and thus has forfeited his right to obtain a discharge of his debts.

                  FOURTH CAUSE OF ACTION - 11 U.S.C. § 727(a)(4)(A)

       162.     Paragraphs 1 through 155 are hereby repeated and realleged as though fully set

forth herein.

       163.     Based upon information sufficient to form a reasonable belief, by testifying

under oath at the April 2022 Meeting that he does not have any ownership interest in the

Residence and has never owned the Residence, the Debtor JAYARAMAN KRISHNAN

A/K/A JAYARAMAN KRISHNA A/K/A JAYARDMAN KRISHNA A/K/A


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JAYARDMAN KRISHNAN, has knowingly and fraudulently, in or in connection with the

case made a false oath or account in violation of 11 U.S.C. § 727(a)(4)(A) and thus has forfeited

his right to obtain a discharge of his debts.

                   FIFTH CAUSE OF ACTION - 11 U.S.C. § 727(a)(4)(A)

       164.     Paragraphs 1 through 155 are hereby repeated and realleged as though fully set

forth herein.

       165.     Based upon information sufficient to form a reasonable belief, by testifying

under oath at the April 2022 Meeting that he does not own any real estate and has not owned

any real estate anywhere in the world in the four-year period prior to the Petition Date, the

Debtor, JAYARAMAN KRISHNAN A/K/A JAYARAMAN KRISHNA A/K/A

JAYARDMAN KRISHNA, has knowingly and fraudulently, in or in connection with the case

made a false oath(s) or account(s) in violation of 11 U.S.C. § 727(a)(4)(A) and thus has

forfeited his right to obtain a discharge of his debts.

                   SIXTH CAUSE OF ACTION - 11 U.S.C. § 727(a)(4)(A)

       166.     Paragraphs 1 through 155 are hereby repeated and realleged as though fully set

forth herein.

       167.     Based upon information sufficient to form a reasonable belief, by testifying

under oath at the April 2022 Meeting that his bankruptcy documents/papers were accurate as of

the date of the bankruptcy filing (the Petition Date), the Debtor, JAYARAMAN KRISHNAN

A/K/A JAYARAMAN KRISHNA A/K/A JAYARDMAN KRISHNA, has knowingly and

fraudulently, in or in connection with the case made a false oath(s) or account(s) in violation of

11 U.S.C. § 727(a)(4)(A) and thus has forfeited his right to obtain a discharge of his debts.


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                       SEVENTH CAUSE OF ACTION - 11 U.S.C. § 727(a)(4)(A)

       168.     Paragraphs 1 through 155 are hereby repeated and realleged as though fully set

forth herein.

       169.     Based upon information sufficient to form a reasonable belief, by testifying

under oath at the April 2022 Meeting that he had never filed a tax return in the United States,

the Debtor, JAYARAMAN KRISHNAN A/K/A JAYARAMAN KRISHNA A/K/A

JAYARDMAN KRISHNA, has knowingly and fraudulently, in or in connection with the case

made a false oath(s) or account(s) in violation of 11 U.S.C. § 727(a)(4)(A) and thus has

forfeited his right to obtain a discharge of his debts.

                  EIGHTH CAUSE OF ACTION - 11 U.S.C. § 727(a)(4)(A)

       170.     Paragraphs 1 through 155 are hereby repeated and realleged as though fully set

forth herein.

       171.     Based upon information sufficient to form a reasonable belief, by testifying

under oath at the August 2022 Meeting that he has not ever owned the Residence, the Debtor

JAYARAMAN KRISHNAN A/K/A JAYARAMAN KRISHNA A/K/A JAYARDMAN

KRISHNA A/K/A JAYARDMAN KRISHNAN, has knowingly and fraudulently, in or in

connection with the case made a false oath or account in violation of 11 U.S.C. § 727(a)(4)(A)

and thus has forfeited his right to obtain a discharge of his debts.

                   NINTH CAUSE OF ACTION - 11 U.S.C. § 727(a)(4)(A)

       172.     Paragraphs 1 through 155 are hereby repeated and realleged as though fully set

forth herein.




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       173.     Based upon information sufficient to form a reasonable belief, by testifying

under oath at August 2022 Meeting that he is not a defendant in the 2018 Foreclosure Action,

the Debtor, JAYARAMAN KRISHNAN A/K/A JAYARAMAN KRISHNA A/K/A

JAYARDMAN KRISHNA, has knowingly and fraudulently, in or in connection with the case

made a false oath(s) or account(s) in violation of 11 U.S.C. § 727(a)(4)(A) and thus has

forfeited his right to obtain a discharge of his debts.

                   TENTH CAUSE OF ACTION - 11 U.S.C. § 727(a)(4)(A)

       174.     Paragraphs 1 through 155 are hereby repeated and realleged as though fully set

forth herein.

       175.     Based upon information sufficient to form a reasonable belief, by testifying

under oath at the August 2022 Meeting that he did not sign the Note and the Mortgage, the

Debtor, JAYARAMAN KRISHNAN A/K/A JAYARAMAN KRISHNA A/K/A

JAYARDMAN KRISHNA, has knowingly and fraudulently, in or in connection with the case

made a false oath(s) or account(s) in violation of 11 U.S.C. § 727(a)(4)(A) and thus has

forfeited his right to obtain a discharge of his debts.

                ELEVENTH CAUSE OF ACTION - 11 U.S.C. § 727(a)(4)(A)

       176.     Paragraphs 1 through 155 are hereby repeated and realleged as though fully set

forth herein.

       177.     Based upon information sufficient to form a reasonable belief, by testifying

under oath at the August 2022 Meeting that his deceased father is a defendant in the 2018

Foreclosure Action, the Debtor, JAYARAMAN KRISHNAN A/K/A JAYARAMAN

KRISHNA A/K/A JAYARDMAN KRISHNA, has knowingly and fraudulently, in or in


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connection with the case made a false oath(s) or account(s) in violation of 11 U.S.C. §

727(a)(4)(A) and thus has forfeited his right to obtain a discharge of his debts.

                 TWELFTH CAUSE OF ACTION - 11 U.S.C. § 727(a)(4)(A)

       178.     Paragraphs 1 through 155 are hereby repeated and realleged as though fully set

forth herein.

       179.     Based upon information sufficient to form a reasonable belief, by testifying

under oath at the August 2022 Meeting that he had no attorney-client relationship with Attorney

Williams, the Debtor, JAYARAMAN KRISHNAN A/K/A JAYARAMAN KRISHNA

A/K/A JAYARDMAN KRISHNA, has knowingly and fraudulently, in or in connection with

the case made a false oath(s) or account(s) in violation of 11 U.S.C. § 727(a)(4)(A) and thus has

forfeited his right to obtain a discharge of his debts.

                THIRTEENTH CAUSE OF ACTION - 11 U.S.C. § 727(a)(4)(A)

       180.     Paragraphs 1 through 155 are hereby repeated and realleged as though fully set

forth herein.

       181.     Based upon information sufficient to form a reasonable belief, by testifying

under oath at the September 2022 Meeting that the Residence is owned by his father and Ms.

Prasad, and that he does not own the Residence, the Debtor, JAYARAMAN KRISHNAN

A/K/A JAYARAMAN KRISHNA A/K/A JAYARDMAN KRISHNA, has knowingly and

fraudulently, in or in connection with the case made a false oath(s) or account(s) in violation of

11 U.S.C. § 727(a)(4)(A) and thus has forfeited his right to obtain a discharge of his debts.




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                FOURTEENTH CAUSE OF ACTION - 11 U.S.C. § 727(a)(4)(A)

       182.      Paragraphs 1 through 155 are hereby repeated and realleged as though fully set

forth herein.

       183.      Based upon information sufficient to form a reasonable belief, by testifying

under oath at the September 2022 Meeting that he signed the Note and the Mortgage on behalf

of his father and not himself, the Debtor, JAYARAMAN KRISHNAN A/K/A JAYARAMAN

KRISHNA A/K/A JAYARDMAN KRISHNA, has knowingly and fraudulently, in or in

connection with the case made a false oath(s) or account(s) in violation of 11 U.S.C. §

727(a)(4)(A) and thus has forfeited his right to obtain a discharge of his debts.

                FIFTHTEENTH CAUSE OF ACTION - 11 U.S.C. § 727(a)(4)(A)

       184.      Paragraphs 1 through 155 are hereby repeated and realleged as though fully set

forth herein.

       185.      Based upon information sufficient to form a reasonable belief, by testifying

under oath at the September 2022 Meeting that listed all of his assets on his bankruptcy

schedules, the Debtor, JAYARAMAN KRISHNAN A/K/A JAYARAMAN KRISHNA

A/K/A JAYARDMAN KRISHNA, has knowingly and fraudulently, in or in connection with

the case made a false oath(s) or account(s) in violation of 11 U.S.C. § 727(a)(4)(A) and thus has

forfeited his right to obtain a discharge of his debts.

                 SIXTEENTH CAUSE OF ACTION - 11 U.S.C. § 727(a)(4)(A)

       186.      Paragraphs 1 through 155 are hereby repeated and realleged as though fully set

forth herein.




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       187.      Based upon information sufficient to form a reasonable belief, by testifying

under oath at the November 2022 Meeting that he does not own the Residence, the Debtor,

JAYARAMAN KRISHNAN A/K/A JAYARAMAN KRISHNA A/K/A JAYARDMAN

KRISHNA, has knowingly and fraudulently, in or in connection with the case made a false

oath(s) or account(s) in violation of 11 U.S.C. § 727(a)(4)(A) and thus has forfeited his right to

obtain a discharge of his debts.

                SEVENTEENTH CAUSE OF ACTION - 11 U.S.C. § 727(a)(4)(A)

       188.      Paragraphs 1 through 155 are hereby repeated and realleged as though fully set

forth herein.

       189.      Based upon information sufficient to form a reasonable belief, by testifying

under oath at the November 2022 Meeting that he was not a defendant in the 2018 Foreclosure

Action, did not take a loan out with respect to the Residence, and that the 2018 Foreclosure

Action involved his father and not him, the Debtor, JAYARAMAN KRISHNAN A/K/A

JAYARAMAN KRISHNA A/K/A JAYARDMAN KRISHNA, has knowingly and

fraudulently, in or in connection with the case made a false oath(s) or account(s) in violation of

11 U.S.C. § 727(a)(4)(A) and thus has forfeited his right to obtain a discharge of his debts.

                EIGHTEENTH CAUSE OF ACTION - 11 U.S.C. § 727(a)(4)(A)

       190.      Paragraphs 1 through 155 are hereby repeated and realleged as though fully set

forth herein.

       191.      Based upon information sufficient to form a reasonable belief, by testifying

under oath at the November 2022 Meeting that he did not hire Attorney Williams to represent

him in the 2018 Foreclosure Action, the Debtor, JAYARAMAN KRISHNAN A/K/A


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JAYARAMAN KRISHNA A/K/A JAYARDMAN KRISHNA, has knowingly and

fraudulently, in or in connection with the case made a false oath(s) or account(s) in violation of

11 U.S.C. § 727(a)(4)(A) and thus has forfeited his right to obtain a discharge of his debts.

                NINETEENTH CAUSE OF ACTION - 11 U.S.C. § 727(a)(4)(A)

       192.     Paragraphs 1 through 155 are hereby repeated and realleged as though fully set

forth herein.

       193.     Based upon information sufficient to form a reasonable belief, by testifying

under oath at the November 2022 Meeting that Attorney Mediation Motion (Exhibit 12) was

filed on behalf of his father, not him, the Debtor, JAYARAMAN KRISHNAN A/K/A

JAYARAMAN KRISHNA A/K/A JAYARDMAN KRISHNA, has knowingly and

fraudulently, in or in connection with the case made a false oath(s) or account(s) in violation of

11 U.S.C. § 727(a)(4)(A) and thus has forfeited his right to obtain a discharge of his debts.

       WHEREFORE, the United States Trustee respectfully requests:

                            a. denial of the discharge of Debtor JAYARAMAN KRISHNAN

                               A/K/A JAYARAMAN KRISHNA A/K/A JAYARDMAN

                               KRISHNA;




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                        b. the costs of suit; and

                        c. for such other and further relief as is just and proper.



     Dated at New Haven, Connecticut this 24th day of May, 2023.

                                           WILLIAM K. HARRINGTON
                                           UNITED STATES TRUSTEE FOR REGION 2

                                           By:      /s/ Holley L. Claiborn
                                                    Holley L. Claiborn
                                                    Trial Attorney
                                                    Office of the United States Trustee
                                                    Giaimo Federal Building, Room 302
                                                    150 Court Street
                                                    New Haven, CT 06510
                                                    Holley.L.Claiborn@usdoj.gov
                                                    (203) 773-2210
                                                    Federal Bar No.: ct17216 (Connecticut)




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